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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ROBIN TAYLOR,

                    Plaintiff,

v.                                                 Case No: 8:21-cv-2517-MSS-AAS

PREMIER MORTGAGE, LLC,

                    Defendant.


               ORDER OF DISMISSAL WITHOUT PREJUDICE

      On January 18, 2022, Plaintiff filed a Notice of Settlement, informing the Court

that the above-captioned case was settled. (Dkt. 13) Therefore, it is hereby

      ORDERED that pursuant to Rule 3.09(b) of the Local Rules of the United

States District Court for the Middle District of Florida, this case is DISMISSED

WITHOUT PREJUDICE, subject to the right of the Parties, within sixty (60)

calendar days from the date of this Order, to submit a final stipulation of dismissal,

should they so choose, or for any party to reopen the case, upon good cause shown.

After the sixty (60)-day period, the dismissal shall be with prejudice. Any pending

motions are DENIED as moot. The Clerk is directed to CLOSE this case.

      DONE and ORDERED in Tampa, Florida, this 18th day of January 2022.
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Copies furnished to:
Counsel of Record
Any pro se party




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